                           Case 21-15726-mkn                           Doc 12             Entered 12/29/21 10:56:58                                Page 1 of 44


 Fill in this information to identify your case:

 Debtor 1
                     Debra Lynn Sivas
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                                (State)
 Case number           21-15726
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 167,925.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 25,993.94
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 193,918.94
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 109,972.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 141,515.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 251,487.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 1,392.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 1,390.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                         Case 21-15726-mkn                     Doc 12     Entered 12/29/21 10:56:58                       Page 2 of 44
                  Debra Sivas                                                                                             21-15726
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              0.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                            Case 21-15726-mkn                                   Doc 12                Entered 12/29/21 10:56:58                                         Page 3 of 44


Fill in this information to identify your case and this filing:

                    Debra Lynn Sivas
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: District of
Nevada
                                                                                                                                                                                                        Check if this is
Case number 21-15726                                                                                                                                                                                    an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 5055 West Hacienda Ave                                                     Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
            1209
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Las Vegas NV             89118
                                                                                   Land                                                                         $ 167,925.00                        $ 167,925.00
            City           State     ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Clark County                                                           Other                                                                        entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check                                     Fee simple
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 167,925.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 5
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                  Debra Lynn Sivas                                                                                                                                Case number(if known)
Debtor 1         First Name          Middle Name         Last Name
                                                                                                                                                                                                   21-15726


    3.1 Make:Nissan                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Sentra                                                                                                                                         amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2021
                                                                                       Debtor 2 only
           Approximate mileage: 2000                                                                                                                               Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 22,818.00
              Condition:Very Good;                                                                                                                                                                      $ 22,818.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 22,818.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Household goods and furnishings
                                                                                                                                                                                                        $ 1,100.00
          Household goods and furnishings
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          Television(s)                                                                                                                                                                                 $ 200.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

          Wearing apparel                                                                                                                                                                               $ 200.00
  12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                   gold, silver

              No
              Yes. Describe...

                                                                                                                                                                                                                      page 2 of 5
                             Case 21-15726-mkn                                        Doc 12                  Entered 12/29/21 10:56:58                                    Page 5 of 44
                  Debra Lynn Sivas                                                                                                                                  Case number(if known)
Debtor 1        First Name            Middle Name           Last Name
                                                                                                                                                                                                    21-15726


  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 1,500.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Nevada State Bank                                                                                                                $ 33.58

        17.2. Checking account:                                     California Bank & Trust                                                                                                          $ 0.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        Exxon Mobile                                                                                                                                                                                 $ 753.11
        IBM                                                                                                                                                                                          $ 889.25
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
  22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                  companies, or others

             No
             Yes.....................




                                                                                                                                                                                                                 page 3 of 5
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                Debra Lynn Sivas                                                                                    Case number(if known)
Debtor 1      First Name          Middle Name   Last Name
                                                                                                                                            21-15726


  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:                   $ 0.00
                                                                                                                 State:                     $ 0.00
                                                                                                                 Local:                     $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information....
  31. Interests in insurance policies
           No
           Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
           No
           Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           No
           Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
       off claims
           No
           Yes. Give specific information....
  35. Any financial assets you did not already list
           No
           Yes. Give specific information...


      Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
                                                                                                                                                         page 4 of 5
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                    Debra Lynn Sivas                                                                                                                                               Case number(if known)
Debtor 1          First Name            Middle Name           Last Name
                                                                                                                                                                                                           21-15726


 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤                $ 1,675.94


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                         $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                      $ 167,925.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 22,818.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 1,500.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 1,675.94
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 25,993.94                         Copy personal property total➤            +$
                                                                                                                                                                                                                  25,993.94
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                           $ 193,918.94




                                                                                                                                                                                                                        page 5 of 5
                           Case 21-15726-mkn                  Doc 12         Entered 12/29/21 10:56:58                                Page 8 of 44

 Fill in this information to identify your case:

                     Debra Lynn Sivas
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                      (State)
 Case number
  (If known)
                      21-15726
                     ___________________________________________                                                                                        Check if this is an
                                                                                                                                                           amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                   4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                      Amount of the                     Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                           exemption you claim

                                                             Copy the value from                       Check only one box
                                                             Schedule A/B                              for each exemption
                 5055 West Hacienda Ave                                                                                                  Nev. Rev. Stat. Ann. § 115.010, §
 Brief
 description:
                                                                     167,925.00
                                                                    $________________           
                                                                                                ✔ $ ____________
                                                                                                    79,684.00                            21.090 (1)(m), § 115.020

                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        1.1
                 2021 Nissan Sentra                                                                                                      Nev. Rev. Stat. Ann. § 21.090 (1)(f)
 Brief
 description:
                                                                      22,818.00
                                                                    $________________            $ ____________
                                                                                                 ✔  1,087.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:         3.1
                 Household goods and furnishings (Stored Within 1                                                                        Nev. Rev. Stat. Ann. § 21.090 (1)(b)
 Brief
 description:
                 Year)                                              $________________
                                                                      500.00                    
                                                                                                ✔ $ ____________
                                                                                                    500.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                                   2
                                                                                                                                                                  page 1 of __
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Debtor           Debra Lynn Sivas
                _______________________________________________________                        21-15726
                                                                        Case number (if known)_____________________________________
                First Name      Middle Name       Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                            Amount of the                       Specific laws that allow exemption
                                                                   Current value of the   exemption you claim
         on Schedule A/B that lists this property                  portion you own
                                                                  Copy the value from    Check only one box
                                                                   Schedule A/B           for each exemption
               Household Goods - Household goods and furnishings                                                               Nev. Rev. Stat. Ann. § 21.090 (1)(b)
Brief
description:
                                                                    600.00
                                                                   $________________         600.00
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:         6
               Electronics - Television(s)                                                                                     Nev. Rev. Stat. Ann. § 21.090 (1)(b)
Brief
description:                                                       $________________
                                                                    200.00                
                                                                                          ✔ $ ____________
                                                                                              200.00
                                                                                           100% of fair market value, up to
                                                                                             any applicable statutory limit
Line from
Schedule A/B:         7
               Clothing - Wearing apparel                                                                                      Nev. Rev. Stat. Ann. § 21.090 (1)(b)
Brief
description:                                                       $________________
                                                                    200.00                
                                                                                          ✔ $ ____________
                                                                                              200.00
                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:        11
               Nevada State Bank (Checking Account)                                                                            Nev. Rev. Stat. Ann. § 21.090 (1)(y)
Brief
description:
                                                                    33.58
                                                                   $________________         33.58
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:        17.1
               Exxon Mobile                                                                                                    Nev. Rev. Stat. Ann. § 21.090 (1)(bb),
Brief                                                                                                                          Nev. Rev. Stat. Ann. § 78.746
description:
                                                                    753.11
                                                                   $________________         753.11
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:           18
               IBM                                                                                                             Nev. Rev. Stat. Ann. § 21.090 (1)(bb),
Brief                                                                                                                          Nev. Rev. Stat. Ann. § 78.746
description:
                                                                    889.25
                                                                   $________________         889.25
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:           18

Brief
description:                                                       $________________       $ ____________
                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________       $ ____________
                                                                                           100% of fair market value, up to
                                                                                             any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                       $________________       $ ____________
                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________       $ ____________
                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________       $ ____________
                                                                                           100% of fair market value, up to
                                                                                             any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                       $________________       $ ____________
                                                                                           100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:


 Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                   2
                                                                                                                                                page ___ of __ 2
                              Case 21-15726-mkn                       Doc 12          Entered 12/29/21 10:56:58               Page 10 of 44

  Fill in this information to identify your case:

  Debtor 1           Debra Lynn Sivas
                     First Name                                 Last Name
                                             Middle Name

  Debtor 2
  (Spouse, if filing)      First Name
                                                  Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: District of Nevada

  Case number 21-15726                                                                                                                             Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                              Describe the property that secures the claim: $ 21,731.00      $ 22,818.00       $ 0.00

                                                                 2021 Nissan Sentra - $22,818.00
       Mechanics Bank Auto Fi
       Creditor’s Name
       Po Box 25805
       Number        Street
                                                                As of the date you file, the claim is: Check all
       Santa Ana CA               92799                         that apply.
       City             State     ZIP Code
                                                                   Contingent
       Who owes the debt? Check one.                               Unliquidated
         Debtor 1 only                                             Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                             Nature of lien. Check all that apply.
         At least one of the debtors and another                   An agreement you made (such as mortgage or
                                                                   secured car loan)
              Check if this claim relates to a                     Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                       Judgment lien from a lawsuit
                                                                   Other (including a right to offset)
       Date debt was incurred 2021
                                                                Last 4 digits of account number 1001




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                  page 1 of 2
                 Debra Lynn Sivas
Debtor          First Name    Case 21-15726-mkn
                                 Middle Name   Last Name         Doc 12          Entered 12/29/21 10:56:58CasePage    11
                                                                                                               number(if    of 44
                                                                                                                         known) 21-15726


 2.2                                                         Describe the property that secures the claim: $ 88,241.00            $ 167,925.00   $ 0.00

                                                            5055 West Hacienda Ave 1209, Las Vegas, NV 89118 - $167,925.00
        New Res Shellpoint Mtg
        Creditor’s Name
        75 Beattie Pl Ste 300
        Number       Street
                                                           As of the date you file, the claim is: Check all
        Greenville SC           29601                      that apply.
        City            State   ZIP Code
                                                              Contingent
        Who owes the debt? Check one.                         Unliquidated
          Debtor 1 only                                       Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                       Nature of lien. Check all that apply.
          At least one of the debtors and another             An agreement you made (such as mortgage or
                                                              secured car loan)
               Check if this claim relates to a               Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                 Judgment lien from a lawsuit
                                                              Other (including a right to offset)
        Date debt was incurred 2005
                                                           Last 4 digits of account number 2311

       Add the dollar value of your entries in Column A on this page. Write that number here:                      $ 109,972.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 2
                               Case 21-15726-mkn                     Doc 12             Entered 12/29/21 10:56:58                     Page 12 of 44

   Fill in this information to identify your case:

                   Debra Lynn Sivas
   Debtor 1
                   First Name                                   Last Name
                                             Middle Name

   Debtor 2
   (Spouse, if filing)         First Name
                                                  Middle Name
                                                                     Last Name



   United States Bankruptcy Court for the: District of Nevada

   Case number 21-15726                                                                                                                               Check if this is
   (if know)                                                                                                                                          an amended
                                                                                                                                                      filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.

   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                       Last 4 digits of account number 4695
         Bank Of America                                                                                                                                   $ 1,104.00
         Nonpriority Creditor's Name
                                                                            When was the debt incurred? 1981

         Po Box 982238                                                      As of the date you file, the claim is: Check all that apply.
         Number        Street                                                  Contingent
         El Paso TX               79998                                        Unliquidated
         City          State      ZIP Code
                                                                               Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                    Student loans
             Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
             At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                        debts
             debt                                                             Other. Specify Credit Card Debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 8
                  Debra Lynn Sivas
 Debtor          First Name   Case 21-15726-mkn
                                    Middle Name   Last Name   Doc 12         Entered 12/29/21 10:56:58CasePage    13
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                                                                                                                     known) 21-15726


  4.2                                                            Last 4 digits of account number
          Brian Hayek                                                                                                              $ 10,270.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          c/o Timothy V. Logoluso                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          P.O. BOX 28907                                            Unliquidated
                                                                    Disputed
          Fresno CA              93729
          City        State      ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify Judgment Liens
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                            Last 4 digits of account number
          Don Aluisi                                                                                                               $ 10,297.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          c/o Timothy V. Logoluso                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          P.O. BOX 28907                                            Unliquidated
                                                                    Disputed
          Fresno CA              93729
          City        State      ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify Judgment Liens
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                            Last 4 digits of account number 70**
          Fin Cr Netwk                                                                                                                 $ 356.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2021

          1300 W Main                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Visalia CA             93277                              Unliquidated
          City       State       ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                        page 2 of 8
                  Debra Lynn Sivas
 Debtor          First Name    Case 21-15726-mkn
                                       Middle Name   Last Name   Doc 12         Entered 12/29/21 10:56:58CasePage    14
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                                                                                                                        known) 21-15726


  4.5                                                               Last 4 digits of account number 5915
          First Premier Bank                                                                                                              $ 971.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2018

          601 S Minnesota Ave                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Sioux Falls SD               57104                           Unliquidated
          City                State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.6                                                               Last 4 digits of account number 0280
          First Premier Bank                                                                                                              $ 550.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2017

          601 S Minnesota Ave                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Sioux Falls SD               57104                           Unliquidated
          City                State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                               Last 4 digits of account number
          IRS                                                                                                                         $ 10,000.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Centralized Insolvency Dept.                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          P. O. Box 7346                                               Unliquidated
                                                                       Disputed
          Philadelphia PA                19101
          City                 State     ZIP Code                   Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Income Taxes
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                        page 3 of 8
                  Debra Lynn Sivas
 Debtor          First Name    Case 21-15726-mkn
                                       Middle Name   Last Name   Doc 12         Entered 12/29/21 10:56:58CasePage    15
                                                                                                              number(if    of 44
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  4.8                                                               Last 4 digits of account number
          Jack Lile                                                                                                                       $ 8,300.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          132 W. Grene Jade                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Washington UT                  84780                         Unliquidated
          City                 State     ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.9                                                               Last 4 digits of account number
          Jeff Marks                                                                                                                  $ Unknown
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          11438 Dona Dolores Place                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Studio City CA               91604                           Unliquidated
          City                State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.10 Ken Jackson                                                  Last 4 digits of account number
                                                                                                                                      $ 10,270.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          c/o Timothy V. Logoluso                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          P.O. BOX 28907                                               Unliquidated
                                                                       Disputed
          Fresno CA              93729
          City        State      ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Judgment Liens
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                         page 4 of 8
                  Debra Lynn Sivas
 Debtor          First Name    Case 21-15726-mkn
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                                                                                                                     known) 21-15726


  4.11 Kestin Group, Inc.                                        Last 4 digits of account number
                                                                                                                                       $ 7,200.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 150                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Fairfield CA            94533                             Unliquidated
          City         State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.12 Lloyd Winter                                              Last 4 digits of account number
                                                                                                                                       $ 7,957.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          1724 Broadway Stgreet #6                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Fresno CA              93721                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.13 Lvnvfund                                                  Last 4 digits of account number 5881
                                                                                                                                         $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2010

          Po Box 4499                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Beaverton OR              97076                           Unliquidated
          City            State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                         page 5 of 8
                  Debra Lynn Sivas
 Debtor          First Name     Case 21-15726-mkn
                                      Middle Name   Last Name   Doc 12         Entered 12/29/21 10:56:58CasePage    17
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                                                                                                                       known) 21-15726


  4.14 Melvin King                                                 Last 4 digits of account number
                                                                                                                                     $ 53,000.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          303 Ballard Avenue                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                       Contingent
          Fresno CA               93710                               Unliquidated
          City          State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.15 Nordstrom/Td Bank Usa                                       Last 4 digits of account number 4163
                                                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 1991

          13531 E Caley Ave                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                       Contingent
          Englewood CO                 80111                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.16 Scott Wilson                                                Last 4 digits of account number
                                                                                                                                     $ 21,050.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          8426 E. Paul                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                       Contingent
          .         .           93619                                 Unliquidated
          City      State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                        page 6 of 8
                  Debra Lynn Sivas
 Debtor          First Name   Case 21-15726-mkn
                                     Middle Name        Last Name   Doc 12         Entered 12/29/21 10:56:58CasePage    18
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                                                                                                                           known) 21-15726


  4.17 Specialized Loan Servi                                          Last 4 digits of account number 0191
                                                                                                                                                                    $ Unknown
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 2007

          6200 S Quebec St                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Greenwood Village CO                     80111                  Unliquidated
          City                           State     ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.18 Syncb/Merv                                                      Last 4 digits of account number ****
                                                                                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 1980

          4125 Windward Plaza                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          Alpharetta GA              30005                                Unliquidated
          City            State      ZIP Code
                                                                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another
                                                                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.19 Verizon Wireless                                                Last 4 digits of account number ***3
                                                                                                                                                                       $ 190.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred? 2019

          Bankruptcy Dept.                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                            Contingent
          500 Technology Drive, #550                                      Unliquidated
                                                                          Disputed
          Saint Charles MO                63304
          City                   State    ZIP Code                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                  Student loans
              Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              Debtor 2 only
                                                                          Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                  debts
              At least one of the debtors and another                    Other. Specify Telephone / Internet services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        Hollywood Records                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        500 S. Buena Vista Street
        Number       Street                                                                                             Part 2: Creditors with Nonpriority Unsecured
        Burbank CA               91521                                            Claims
        City         State       ZIP Code
                                                                                  Last 4 digits of account number

Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 7 of 8
                 Debra Lynn Sivas
 Debtor        First Name   Case 21-15726-mkn
                                Middle Name   Last Name      Doc 12         Entered 12/29/21 10:56:58CasePage    19
                                                                                                          number(if    of 44
                                                                                                                    known) 21-15726


        Jefferson Capital Systems, LLC                                     On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                           Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 7999
        Number     Street                                                                                        Part 2: Creditors with Nonpriority Unsecured
        Saint Cloud MN          56302                                      Claims
        City            State   ZIP Code
                                                                           Last 4 digits of account number

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 0.00



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 141,515.00
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 141,515.00




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 8 of 8
                          Case 21-15726-mkn                       Doc 12             Entered 12/29/21 10:56:58             Page 20 of 44

  Fill in this information to identify your case:

  Debtor 1
                     Debra Lynn Sivas
                      First Name                                   Last Name
                                              Middle Name

  Debtor 2
  (Spouse, if filing)         First Name
                                                   Middle Name
                                                                         Last Name



  United States Bankruptcy Court for the: District of Nevada

  Case number 21-15726                                                                                                                      Check if this is
  (if know)                                                                                                                                 an amended
                                                                                                                                            filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                             State what the contract or lease is for

 2.1                                                                                          Storage Lease Agreement - Current / REJECT Purchaser
          Darrell's Mini Storage
          Name
          7695 N Palm Ave
          Street
          Fresno CA                93711
          City        State        ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                page 1 of 1
                           Case 21-15726-mkn                      Doc 12           Entered 12/29/21 10:56:58                             Page 21 of 44

Fill in this information to identify your case:

Debtor 1
                Debra Lynn Sivas
                     First Name                                 Last Name
                                        Middle Name

Debtor 2
(Spouse, if filing)        First Name
                                              Middle Name
                                                                      Last Name



United States Bankruptcy Court for the: District of Nevada

Case number 21-15726                                                                                                                                     Check if this is
(if know)                                                                                                                                                an amended
                                                                                                                                                         filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
            Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.



 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt
                                                                                                        Check all schedules that apply:




Official Form 106H                                                            Schedule H: Your Codebtors                                                         page 1 of 1
                          Case 21-15726-mkn               Doc 12      Entered 12/29/21 10:56:58                   Page 22 of 44

 Fill in this information to identify your case:

                      Debra Lynn Sivas
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Nevada    District
                                                                                 tate)
 Case number            21-15726
                     ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
Official Form 106I                                                                                      MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                              Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________            __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Retired
                                         Employer’s name            __________________________________             __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                 Number    Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                      ,
                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                          How long employed there?________________________                         ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.            0.00
                                                                                               $___________           $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________
                                                                                                        0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.            0.00
                                                                                               $__________            $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
                 Debra
                         Case 21-15726-mkn
                        Lynn Sivas
                                                                       Doc 12              Entered 12/29/21 10:56:58                          Page 23 of 44
Debtor 1         _______________________________________________________                                                                          21-15726
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.        1,392.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        1,392.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            1,392.00
                                                                                                                         $___________     +       $_____________      =      1,392.00
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             1,392.00
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                           Case 21-15726-mkn                Doc 12            Entered 12/29/21 10:56:58                      Page 24 of 44

  Fill in this information to identify your case:

                     Debra Lynn Sivas
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Nevada
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                       21-15726                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    645.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                     15.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                   185.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                          Case 21-15726-mkn                  Doc 12        Entered 12/29/21 10:56:58            Page 25 of 44

                    Debra Lynn Sivas                                                                                 21-15726
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                      40.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                        0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     105.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     150.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      25.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      25.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                        0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     100.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                        0.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                        0.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                         Case 21-15726-mkn                 Doc 12       Entered 12/29/21 10:56:58                  Page 26 of 44

                   Debra Lynn Sivas                                                                                     21-15726
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Post-Petition - Attorney Fees - starting 01/2022
                                                                                                                                        100.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 1,390.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 1,390.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       1,392.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 1,390.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                       2.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                             Case 21-15726-mkn             Doc 12           Entered 12/29/21 10:56:58                           Page 27 of 44

Fill in this information to identify your case:

Debtor 1           Debra Lynn Sivas
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Nevada      District of __________
                                                                                (State)
Case number         21-15726
                    ___________________________________________
(If known)
                                                                                                                                            Check if this is an
                                                                                                                                                amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                           12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Debra Lynn Sivas
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              12/29/2021
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                           Case 21-15726-mkn                       Doc 12         Entered 12/29/21 10:56:58                       Page 28 of 44


 Fill in this information to identify your case:

                    Debra Lynn Sivas
 Debtor 1
                    First Name         Middle Name            Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name            Last Name



 United States Bankruptcy Court for the: District of Nevada

 Case number        21-15726
 (if know)                                                                                                                                                     Check if this is
                                                                                                                                                               an amended
                                                                                                                                                               filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
        Yes. Fill in the details.
 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
       No
       Yes. Fill in the details.
                                       Debtor 1                                                                  Debtor 2

                                       Sources of income                     Gross income from each              Sources of income                  Gross income from each
                                       Describe below.                       source                              Describe below.                    source
                                                                             (before deductions and                                                 (before deductions and
                                                                             exclusions)                                                            exclusions)
   From January 1 of
   current year until the              Social Security                        $ 16,704.00
   date you filed for
   bankruptcy:
   For last calendar year:
                                       Social Security                        $ 18,250.00
   (January 1 to December
   31, 2020


Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1 of 6
                            Case 21-15726-mkn                         Doc 12            Entered 12/29/21 10:56:58                          Page 29 of 44
                Debra Lynn Sivas                                                                                                       Case number(if known)
Debtor         First Name       Middle Name        Last Name
                                                                                                                                                               21-15726


  For the calendar year
  before that:                                Social Security                       $ 17,922.00

  (January 1 to December
  31, 2019


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                   Dates of payment              Total amount paid             Amount you still        Was this payment
                                                                                                                               owe                     for…


                                                                 12/2021                       $ 1,932.00                    $ 88,241.00                  Mortgage
                       New Res Shellpoint Mtg
                                                                 11/2021                                                                                  Car
                       Creditor’s Name
                                                                 10/2021                                                                                  Credit card
                       75 Beattie Pl Ste 300                                                                                                              Loan repayment
                       Number    Street                                                                                                                   Suppliers or
                       Greenville SC            29601                                                                                                  vendors
                       City          State      ZIP Code                                                                                                  Other



7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.




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                Debra Lynn Sivas                                                                                                Case number(if known)
Debtor         First Name     Middle Name    Last Name
                                                                                                                                                        21-15726


10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.

17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3 of 6
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               Debra Lynn Sivas                                                                                                   Case number(if known)
Debtor        First Name         Middle Name   Last Name
                                                                                                                                                          21-15726


20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.
                                                               Who else has or had access to it?                Describe the contents                        Do you still
                                                                                                                                                             have it?

       Darrels Mini Storage                                .
                                                                                                                Household goods and furnishings,                No
       Name of Storage Facility                            Name
                                                                                                                $500.00                                         Yes
       7695 N Palm Ave                                     .
       Number       Street                                 Number       Street
       Fresno CA             93711                         .        .        .
       City      State       ZIP Code                      City     State    ZIP Code


 Part 9:       Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:       Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:       Give Details About Your Business or Connections to Any Business




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               Debra Lynn Sivas                                                                                               Case number(if known)
Debtor        First Name     Middle Name   Last Name
                                                                                                                                                      21-15726


27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5 of 6
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               Debra Lynn Sivas                                                                                                   Case number(if known)
Debtor        First Name         Middle Name   Last Name
                                                                                                                                                          21-15726



 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Debra Lynn Sivas
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 12/29/2021                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6 of 6
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  Fill in this information to identify your case:

                     Debra Lynn Sivas
   Debtor 1
                     First Name         Middle Name             Last Name

   Debtor 2
   (Spouse, if filing)   First Name       Middle Name             Last Name



   United States Bankruptcy Court for the: District of Nevada

   Case number       21-15726
   (if known)
                                                                                                                                                             Check if this is
                                                                                                                                                             an amended
                                                                                                                                                             filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                         12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever
is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and
date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                              No
   name:                 New Res Shellpoint Mtg
                                                                                     Retain the property and redeem it.                   Yes
   Description of 5055 West Hacienda Ave                                             Retain the property and enter into a
   property
                                                                                     Reaffirmation Agreement.
   securing debt:
                                                                                     Retain the property and [explain]:



   Creditor's                                                                        Surrender the property.                              No
   name:                 Mechanics Bank Auto Fi
                                                                                     Retain the property and redeem it.                   Yes
   Description of 2021 Nissan Sentra                                                 Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:




 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases                                                                          Will the lease be assumed?
   Lessor's                                                                                                                       No
   name:                 Darrell's Mini Storage
                                                                                                                                  Yes
   Description of leased
   property: Storage Lease Agreement - Current / REJECT


 Official Form 108                                              Statement of Intention for Individuals Filing Under Chapter 7                                       page 1 of 2
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              Debra Lynn Sivas                                                                                  Case number(if known)
Debtor                                                                                                                                  21-15726


Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Debra Lynn Sivas
       Signature of Debtor 1                                                  Signature of Debtor 2


     Date 12/29/2021                                                        Date 12/29/2021
            MM/DD/YYYY                                                              MM/DD/YYYY




Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                                      page 2 of 2
                          Case 21-15726-mkn                    Doc 12              Entered 12/29/21 10:56:58               Page 36 of 44
 Fill in this information to identify your case:                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         Debra   Lynn Sivas
                  __________________________________________________________________
                     First Name                 Middle Name                    Last Name
                                                                                                          
                                                                                                          ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name                    Last Name                     2. The calculation to determine if a presumption of
                                                                                                                 abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         District of Nevada
                                                        District of   _______________
                                                                                                                 Means Test Calculation (Official Form 122A–2).
 Case number        21-15726
                    ___________________________________________                                              3. The Means Test does not apply now because of
 (If known)
                                                                                                                 qualified military service but it could apply later.


                                                                                                           Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔     Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                         0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                   0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                 0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   5. Net income from operating a business, profession,
                                                        Debtor 1                            Debtor 2
      or farm
      Gross receipts (before all deductions)              0.00
                                                        $______                               0.00
                                                                                             $______
        Ordinary and necessary operating expenses                             0.00
                                                                           – $______          0.00
                                                                                           – $______
                                                                                                        Copy
      Net monthly income from a business, profession, or                       0.00
                                                                             $______         0.00
                                                                                            $______     here0.00
                                                                                                             $_________             0.00
                                                                                                                                   $__________
      farm
   6. Net income from rental and other real property                          Debtor 1      Debtor 2
      Gross receipts (before all deductions)                                   0.00
                                                                              $______        0.00
                                                                                            $______
        Ordinary and necessary operating expenses                             0.00
                                                                           – $______          0.00
                                                                                           – $______
                                                                                                       Copy
        Net monthly income from rental or other real property                 $______        0.00
                                                                                            $______          0.00
                                                                                                       here$_________
                                                                                                                                    0.00
                                                                                                                                   $__________
  7. Interest, dividends, and royalties                                                                        0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Debtor 1          Debra  Lynn Sivas
                  _______________________________________________________                                                                           21-15726
                                                                                                                             Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................     0.00
                                                                                                        $______________
           For your spouse ..................................................................             0.00
                                                                                                        $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                             0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________

       Total amounts from separate pages, if any.                                                                                + $_________
                                                                                                                                    0.00                       + $___________
                                                                                                                                                                   0.00


   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                   0.00                 +        0.00              =    0.00
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          0.00
                                                                                                                                                                                      $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.     0.00
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                    NV

       Fill in the number of people in your household.                                                  1

                                                                                                                                                                                        54,394.00
                                                                                                                                                                                      $__________
       Fill in the median family income for your state and size of household. ................................................................................................. 13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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Debtor 1     Debra   Lynn Sivas
             _______________________________________________________                                                     21-15726
                                                                                                  Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Debra Lynn Sivas
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       12/29/2021
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
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                          Chad Golightly, 5331
NVB 1007-1 (Rev. 12/15)
                          8665 South Eastern Avenue 101, Las Vegas, NV 89123
                          Tel: 7027033333
                          Fax: 7029268512
                          chad@fairfeelegalservices.com
                    1     Name, Address, Telephone No., Bar Number, Fax No. & E-mail address

                    2
                    3
                    4                                      UNITED STATES BANKRUPTCY COURT
                    5                                                    DISTRICT OF NEVADA
                    6
                    7     In re: (Name of Debtor)                                       BK- 21-15726
                           Debra Lynn Sivas

                    8                                                                   Chapter: 7

                    9
                                                                                        VERIFICATION OF CREDITOR MATRIX
                  10                                             Debtor(s)

                  11
                  12        The above named Debtor hereby verifies that the attached list of creditors is true and correct to
                           to the best of his/her knowledge.
                  13
                  14
                  15
                          Date ____________________
                               12/29/2021                                                 Signature ____________________
                                                                                                    /s/ Debra Lynn Sivas
                  16
                  17
                  18
                          Date ____________________
                               12/29/2021                                                 Signature ____________________
                  19
                  20
                  21
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                  23
                  24
                  25
                  26
                  27
                  28                                                                1
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BANK OF AMERICA                                 LVNVFUND
PO BOX 982238                                   PO BOX 4499
EL PASO, TX 79998                               BEAVERTON, OR 97076

BRIAN HAYEK                                     MECHANICS BANK AUTO FI
C/O TIMOTHY V. LOGOLUSO                         PO BOX 25805
P.O. BOX 28907                                  SANTA ANA, CA 92799
FRESNO, CA 93729
                                                MELVIN KING
DON ALUISI                                      303 BALLARD AVENUE
C/O TIMOTHY V. LOGOLUSO                         FRESNO, CA 93710
P.O. BOX 28907
FRESNO, CA 93729                                NEW RES SHELLPOINT MTG
                                                75 BEATTIE PL STE 300
FIN CR NETWK                                    GREENVILLE, SC 29601
1300 W MAIN
VISALIA, CA 93277                               NORDSTROM/TD BANK USA
                                                13531 E CALEY AVE
FIRST PREMIER BANK                              ENGLEWOOD, CO 80111
601 S MINNESOTA AVE
SIOUX FALLS, SD 57104                           SCOTT WILSON
                                                8426 E. PAUL
HOLLYWOOD RECORDS
500 S. BUENA VISTA STREET                       SPECIALIZED LOAN SERVI
BURBANK, CA 91521                               6200 S QUEBEC ST
                                                GREENWOOD VILLAGE, CO 80111
IRS
CENTRALIZED INSOLVENCY DEPT.                    SYNCB/MERV
P. O. BOX 7346                                  4125 WINDWARD PLAZA
PHILADELPHIA, PA 19101                          ALPHARETTA, GA 30005

INTERNAL REVENUE SERVICE                        U.S. DEPARTMENT OF JUSTICE / CENTRAL INTAKE
CENTRALIZED INSOLVENCY OPERATION                2 CONSTITUTION SQUARE
P. O. BOX 7346                                  145 N STREET, N.E., ROOM 5E.307
PHILADELPHIA, PA 19101                          WASHINGTON, DC 20002

JACK LILE                                       VERIZON WIRELESS
132 W. GRENE JADE                               BANKRUPTCY DEPT.
WASHINGTON, UT 84780                            500 TECHNOLOGY DRIVE, #550
                                                SAINT CHARLES, MO 63304
JEFF MARKS
11438 DONA DOLORES PLACE
STUDIO CITY, CA 91604

JEFFERSON CAPITAL SYSTEMS, LLC
PO BOX 7999
SAINT CLOUD, MN 56302

KEN JACKSON
C/O TIMOTHY V. LOGOLUSO
P.O. BOX 28907
FRESNO, CA 93729

KESTIN GROUP, INC.
PO BOX 150
FAIRFIELD, CA 94533

LLOYD WINTER
1724 BROADWAY STGREET #6
FRESNO, CA 93721
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                    A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                                together—called a joint case. If you file a joint
                                                                    case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                        address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                    bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                   your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do                you file a statement with the court asking that
    not file this information within the deadlines set by           each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                    Understand which services you
    their deadlines, go to:                                         could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms                  counseling agencies

                                                                    The law generally requires that you receive a
                                                                    credit counseling briefing from an approved
                                                                    credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                    If you are filing a joint case, both spouses must
consequences
                                                                    receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                     you must receive it within the 180 days before
      assets or make a false oath or statement                      you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                     is usually conducted by telephone or on the
      in writing—in connection with a                               Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                          In addition, after filing a bankruptcy case, you
                                                                    generally must complete a financial
      All information you supply in connection                     management instructional course before you
      with a bankruptcy case is subject to                          can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                    case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                        You can obtain the list of agencies approved to
      offices and employees of the U.S.                             provide both the briefing and the instructional
      Department of Justice.                                        course from: http://www.uscourts.gov/services-
                                                                    forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                        education-courses.
mailing address                                                     In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                           http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                      forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                     debtor-education-courses.
Form 101). To ensure that you receive
                                                                    If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                    clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                    help you obtain the list.
any changes in your address.


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